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 8                       UNITED STATES DISTRICT COURT

 9                      EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,
                                                   NO. CR. S-05-034 LKK
12               Plaintiff/Appellee,

13          v.                                           O R D E R

14   DAVID T. USSERY,

15               Defendant/Appellant.
                                         /
16

17          The court is in receipt of appellant’s pro se request for

18   appointment of new appellate counsel.           Appellant’s letter was

19   served on this court and the Ninth Circuit, where appellant’s case

20   is presently pending appeal.         The Ninth Circuit responded to

21   appellant’s letter on February 2, 2007. (See Ninth Circuit Docket

22   # 06–10581). In light of the fact that this case is now before the

23   Circuit and that the Circuit has already responded to appellant’s

24   letter, this court will refrain from taking any action.

25   ////

26   ////
     Case 2:05-cr-00034-KJM Document 186 Filed 02/23/07 Page 2 of 2




 1     IT IS SO ORDERED.

 2     DATED: February 22, 2007.

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